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1    QUIN DENVIR, Bar #49374
     Federal Defender
2    RACHELLE BARBOUR, Bar #185395
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone (916) 498-5700
5    Attorney for Defendant
     CARRIE MARIE SULAK
6
7                       IN THE UNITED STATES DISTRICT COURT
8                     FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,    )
                                  )       Case No. CR.S-04-0218 MCE
11                  Plaintiff,    )
                                  )       STIPULATION AND ORDER
12             v.                 )
                                  )       DATE: May 3, 2005
13   CARRIE MARIE SULAK,          )       TIME: 8:30 a.m.
                                  )       JUDGE: Hon. Morrison C. England, Jr.
14                  Defendant.    )
                                  )
15   ____________________________ )
16
17        It is hereby stipulated and agreed to between the United States of
18   America through PHIL FERRARI, Assistant U.S. Attorney, and defendant,
19   CARRIE MARIE SULAK, by and though her counsel, RACHELLE BARBOUR,
20   Assistant Federal Defender, that the status conference of April 19,
21   2005 at 8:30 a.m. be vacated and that a further status conference be
22   set for May 3, 2005 at 8:30 a.m.
23        This continuance is being requested because the parties are
24   negotiating a plea agreement and need time to reduce it to writing and
25   provide it to the Court.    Defense counsel needs time to discuss the
26   plea with the prosecutor and with Ms. Sulak.
27   //
28   //
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1          Speedy trial time is to be excluded from the date of this order
2    through the date of the status conference set for May 3, 2005,
3    pursuant to 18 U.S.C. §§ 3161 (h)(8)(B)(iv) [reasonable time to
4    prepare] (Local Code T4).
5    DATED: April 19, 2005.           Respectfully submitted,
6                                     QUIN DENVIR
                                      Federal Defender
7
                                      /s/ Rachelle Barbour
8
                                      RACHELLE BARBOUR
9                                     Assistant Federal Defender
                                      Attorney for Defendant
10                                    CARRIE MARIE SULAK
11
12                                    McGREGOR SCOTT
                                      United States Attorney
13
14
                                      /s/ Rachelle Barbour for Phil Ferrari
15   DATED: April 19, 2005.
                                      PHIL FERRARI
16                                    Assistant U.S. Attorney
17
                                       O R D E R
18
          IT IS SO ORDERED.
19
20   DATED: April 18, 2005.
21
22                                 __________________________________
                                   MORRISON C. ENGLAND, JR
23                                 UNITED STATES DISTRICT JUDGE
24
25
26
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28


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